  Case 2:21-cv-00131-JDL Document 3 Filed 05/14/21 Page 1 of 4                    PageID #: 15




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
             v.                     )                        Civil Action No. 2:21-cv-00131-JDL
                                    )
                                    )
MAIETTA CONSTRUCTION, INC.,         )
MAIETTA ENTERPRISES, INC., and      )
M7 Land Co., LLC                    )
                                    )
                  Defendants.       )
___________________________________ )


              NOTICE OF LODGING OF PROPOSED CONSENT DECREE

       PLEASE TAKE NOTICE that Plaintiff, United States of America, submits for lodging

only a proposed Consent Decree that is designed to resolve all issues in this case. The proposed

Consent Decree should not be entered by the Court unless the United States subsequently moves

the Court to do so. In conjunction with this Notice, the United States hereby states the

following:

       1.      This is a civil action commenced under section 309(b) and (d) of the Clean Water

Act ("CWA"), 33 U.S.C. § 1319(b) and (d), to obtain injunctive relief and civil penalties against

Maietta Construction, Inc., Maietta Enterprises, Inc., and M7 Land Co., LLC (“Defendants”) for

the discharge of pollutants into waters of the United States without authorization by the United

States Department of the Army Corps of Engineers on property located at 150 Pleasant Hill Road

in Scarborough, Maine (the “Site”), in violation of Sections 301(a) and 404 of the CWA, 33

U.S.C. §§ 1311(a) and 1344.
  Case 2:21-cv-00131-JDL Document 3 Filed 05/14/21 Page 2 of 4                     PageID #: 16



        2.       The United States and Defendants have resolved all claims in this case and have

set forth their agreement in the proposed Consent Decree. That proposed Consent Decree is

submitted on this date for lodging only.

        3.       This case, among other things, seeks to enjoin the Defendants from discharging

pollutants into waters of the United States. In such cases, federal regulations require that non-

parties to the litigation be afforded an opportunity to comment on the proposed judgment. 28

C.F.R. § 50.7(a). The relevant regulations provide that the proposed Consent Decree or

judgment be lodged with the Court at least 30 days before the judgment is entered by the Court.

Id. § 50.7(b).

        4.       In accordance with this process, the Department of Justice will publish notice of

the proposed Consent Decree in the Federal Register and solicit comments on said decree, to be

submitted within thirty days of said publication.

        5.       Pursuant to 28 C.F.R. § 50.7(b), the Department of Justice, as appropriate, may

withdraw or withhold consent to the proposed Consent Decree if comments disclose facts or

considerations which indicate that the Consent Decree is inappropriate, improper, or inadequate.

        Accordingly, the United States respectfully requests that this Court lodge the proposed

Consent Decree, but not sign it or otherwise enter it as an Order. The Untied States will,

promptly after evaluating any public comments received during the public comment period,

make an appropriate motion for the Court to enter the Consent Decree, unless it is determined

that consent should be withheld.

DATE: May 14, 2021                             Respectfully submitted,

                                               /s/ Perry M. Rosen
                                               PERRY M. ROSEN
                                               Environmental Defense Section
                                               Environment & Natural Resources Division


                                                    2
Case 2:21-cv-00131-JDL Document 3 Filed 05/14/21 Page 3 of 4        PageID #: 17



                                 U.S. Department of Justice
                                 P.O. Box 7611
                                 Washington, DC 20044
                                 (202) 353-7792
                                 perry.rosen@usdoj.gov


                                 DONALD E. CLARK
                                 ACTING UNITED STATES ATTORNEY

                                 JOHN OSBORN
                                 Assistant United States Attorney
                                 District of Maine
                                 100 Middle Street
                                 East Tower, 6th Floor
                                 Portland, ME 04101
                                 (207) 780-3257




                                    3
  Case 2:21-cv-00131-JDL Document 3 Filed 05/14/21 Page 4 of 4                  PageID #: 18




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Lodging of Consent Decree along with the

lodged Consent Decree was electronically filed with the Clerk of Court using the CM/ECF

system, which will send notification of said document to the attorneys of record/parties who have

registered as CM/ECF participants.



Date: May 14, 2021                                         /s/ Perry M. Rosen
                                                           Perry M. Rosen




                                                4
